            Case 1:14-bk-10661              Doc 10 Filed 07/03/14 Entered 07/04/14 00:54:51                               Desc
                                          Imaged Certificate of Notice Page 1 of 3
                                               United States Bankruptcy Court
                                                 District of Rhode Island
In re:                                                                                                     Case No. 14-10661-DF
Karen A Delamotte                                                                                          Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0103-1                  User: crpamr                       Page 1 of 1                          Date Rcvd: Jul 01, 2014
                                      Form ID: 105                       Total Noticed: 13


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 03, 2014.
db            +Karen A Delamotte,   85 Mill Street Apt 2,   Newport, RI 02840-3164
944212312      Northstar Location Services,   4285 Genesee Street,   Cheektowaga, NY 14225-1943
944212315     +The Peoples Credit Uni,   858 West Main Rd,   Middletown, RI 02842-6398

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
944212305     EDI: BANKAMER.COM Jul 01 2014 18:38:00      Bank Of America,    Po Box 982235,   El Paso, TX 79998
944212306    +EDI: TSYS2.COM Jul 01 2014 18:38:00      Barclays Bank Delaware,    125 S West St,
               Wilmington, DE 19801-5014
944212307    +EDI: CHASE.COM Jul 01 2014 18:38:00      Chase,   Po Box 15298,    Wilmington, DE 19850-5298
944212308    +EDI: CITICORP.COM Jul 01 2014 18:38:00      Citi,    Po Box 6241,   Sioux Falls, SD 57117-6241
944212309    +EDI: WFNNB.COM Jul 01 2014 18:38:00      Comenity Capital/hsn,    995 W 122nd Ave,
               Westminster, CO 80234-3417
944212310     EDI: IRS.COM Jul 01 2014 18:38:00      IRS Central Insolvency Operation,    PO BOX 21126,
               Philidelphia, PA 19114-0326
944212311    +EDI: LTDFINANCIAL.COM Jul 01 2014 18:38:00      Ltd,    7322 Southwest Freeway Suite 1600,
               Houston, TX 77074-2134
944212313    +EDI: CITICORP.COM Jul 01 2014 18:38:00      Shell/citi,    Po Box 6497,
               Sioux Falls, SD 57117-6497
944212314    +EDI: WTRRNBANK.COM Jul 01 2014 18:38:00      Td Bank Usa/targetcred,    Po Box 673,
               Minneapolis, MN 55440-0673
944212316    +EDI: TFSR.COM Jul 01 2014 18:38:00      Toyota Motor Credit,    1500 W Park Dr,
               Westborough, MA 01581-3936
                                                                                              TOTAL: 10

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 03, 2014                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 1, 2014 at the address(es) listed below:
              Charles A. Pisaturo, Jr.   cpisaturo@earthlink.net,
               RI10@ecfcbis.com;Jenn@pisaturolaw.necoxmail.com
              Gary L. Donahue   ustpregion01.pr.ecf@usdoj.gov
              William W. Harvey   on behalf of Debtor Karen A Delamotte wwh@lawhch.com, harvey6021@gmail.com
                                                                                            TOTAL: 3
       Case 1:14-bk-10661            Doc 10 Filed 07/03/14 Entered 07/04/14 00:54:51                      Desc
                                   Imaged Certificate of Notice Page 2 of 3
B18 (Official Form 18) (12/07)

                                    United States Bankruptcy Court
                                               District of Rhode Island
                                                Case No. 1:14−bk−10661
                                                      Chapter 7

In re Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Karen A Delamotte
   aka Karen Maria Abbondanza
   85 Mill Street Apt 2
   Newport, RI 02840
Social Security / Individual Taxpayer ID No.:
   xxx−xx−1127
Employer Tax ID / Other nos.:



                                           DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                            BY THE COURT

Dated: 7/1/14                                               Diane Finkle
                                                            United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
       Case 1:14-bk-10661              Doc 10 Filed 07/03/14 Entered 07/04/14 00:54:51                      Desc
                                     Imaged Certificate of Notice Page 3 of 3
B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
